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         ORDERED in the Southern District of Florida on March 2, 2018.




                                                                 Erik P. Kimball, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________
                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

        In re:                                                        Case No. 18-11459-EPK

        JEFFREY ANAK SMITH,                                           Chapter 7

               Debtor.
        ______________________________/

                          ORDER ON MOTION FOR JUDICIAL ASSISTANCE

                 This matter came before the Court upon the letter construed as a Motion for Judicial

        Assistance [ECF No. 11] (the “Motion”) filed by Rosemary R. Bailey (the “Movant”).

                 In the Motion, the Movant indicates that Movant received the Notice of Chapter 7

        Bankruptcy Case [ECF No. 2] (the “Notice”), that the Movant is a creditor of Jeffrey Anak

        Smith (the “Debtor”), that the Movant is “totally opposed to allowing [the Debtor] and/or his

        representatives to be relieved of . . . debt” listed in the Debtor’s schedules, and that the

        Movant is unavailable to attend the section 341 meeting of the creditors currently scheduled

        for March 5, 2018.

                 The Movant appears to be a creditor of the Debtor. As provided in the Notice, there

        appears to be no property available to pay existing creditors.             Creditors are therefore

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instructed not to file a proof of claim with this Court. If the chapter 7 trustee determines

that property is available to pay existing creditors at the March 5, 2018 section 341 meeting

of the creditors, the Clerk of this Court will notify creditors of such determination and the

deadline to file a proof of claim. The Court notes that creditors are permitted but not required

to attend the section 341 meeting of the creditors. The unavailability of a creditor to attend

the section 341 meeting of the creditors is not sufficient cause to continue the section 341

meeting of the creditors.

       The Court also notes that the Notice provides a deadline to file a complaint with this

Court in order to object to the entry of discharge or to challenge whether certain debts are

excepted from discharge. The filing deadline is May 4, 2018.

       Having reviewed the Motion, the Court ORDERS and ADJUDGES that to the extent

the Motion [ECF No. 11] requests any relief, such relief is DENIED.

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Copies furnished to:

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Stuart A Young, Esq.

Deborah Menotte, Trustee

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